      Case 1:14-cv-03625-VSB-KNF Document 149 Filed 05/11/21 Page 1 of 1

                  Michael Faillace & Associates, P.C.
                                       Employment and Litigation Attorneys

60 East 42nd Street, Suite 4510                                                 Telephone: (212) 317-1200
New York, New York 10165                                                        Facsimile: (212) 317-1620
_________



                                                                   May 7, 2021

VIA ECF

Hon. Vernon S. Broderick
United States District Judge
United States District Court                                                           5/11/2021
Southern District of New York
40 Foley Square
New York, New York 10007

                 Re:      Galeana, et al. v. Mahasan Inc., et ano.
                          Case No.: 14-cv-03625 (VSB) (KNF)

Your Honor:

        This office represents Plaintiffs in the above-referenced matter. I write to respectfully
request an extension of time to file Plaintiffs’ Motion for a Default Judgment (“Default Motion”).
Pursuant to the Court’s order dated April 30, 2021, the current deadline to file the Default Motion
is May 7, 2021. Plaintiff is seeking an extension to file the Default Motion to May 12, 2021.
This is the first request of its kind.

       The reason for this request is that our office is awaiting to receive a signed declaration
from one of the movants, which we anticipate receiving by early next week.

       Accordingly, Plaintiffs respectfully request the Court to grant their request for a brief
extension of time to file the Default Motion, from May 7, 2021 to May 12, 2021.

        Plaintiffs thank the Court for its time and consideration of this matter.

                                                              Respectfully submitted,


                                                              /s/ William K. Oates
                                                              William K. Oates Esq.
                                                              Michael Faillace & Associates, P.C.
                                                              Attorneys for Plaintiffs




                          Certified as a minority-owned business in the State of New York
